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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION
   MERCIS B.V.,                                  Case No.: 1:19-cv-05161

            Plaintiff,                                  Judge Thomas M. Durkin

       v.                                               Magistrate Judge Maria Valdez

   THE PARTNERSHIPS AND
   UNINCORPORATED
   ASSOCIATIONS IDENTIFIED ON
   SCHEDULE “A”,

            Defendants.

                               SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on October 4, 2019 [34] in favor

of Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this

judgment and hereby fully and completely satisfy the same as to the following Defendants:

                   NO.                                 DEFENDANT
                   114                                     all4lives
                   129                                  dailysales345
                    59                                 cartoonkingdom


       THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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DATED: October 28, 2019                            Respectfully submitted,




                                                       ling Jiang
                                                   JiangIP LLC
                                                   111 West Jackson Blvd.
                                                   Suite 1700
                                                   Chicago, Illinois 60604
                                                   Telephone: 312-675-6297
                                                   Email: yanling@jiangip.com

                                                   ATTORNEY FOR PLAINTIFF


Subscribed and sworn before me by Yanling Jiang, on this 28th day of October,

2019. Given under by hand and notarial seal.



               OFFICIAL SEAL
             OLLIE B. JONES
        Notary Public - State of Illinois   Notary Public
      My Commission Expires 4/07/2022

                                            State of ::[,/II J1 o t S
                                            County of    CO tJ le.
